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      EXHIBIT A-2
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             STATE           OF    NEW YORK
             SUPREME               COURT                                          ST.    LAWRENCE                 COUNTY


             SERVANTS                   OF        JESUS            AND            MARY,            INC.,        d/b/a       THE
             FATIMA               CENTER,
             17000       State     Route30

             Constable,           New      York          12926

                                                                                                                                                                        SUMMONS
                                                                      Plaintiff
                                        -vs-                                                                                                                                         No.:             i+         o2       39C
                                                                                                                                                                         Index

                                                                                                                                                                         Date       Filed:                            P
                                                                                                                                                                                                      f'/A/
             THE        NATIONAL                      COMMITTEE                         FOR        THE        NATIONAL
             PILGRIM               VIRGIN             OF CANADA                    AND
             452     Kraft      Road
                                                                                                                                                                   Basis          of Venue:
             Fort    Erie,      Ontario,       Canada         L2A       4M7
                                                                                                                                                            Plaintiff's             Residence


             THE        FATIMA             CENTER                U.S.A.,      INC.,
             P.O.      Box      1470                                                                                                                               CV-20184162396
                                                                                                                                                                   04/02/2018  11:57 23 AM
             Buffalo,        New       York       14240
                                                                                                                                                                   SUMMONS & COMPLAINT
                                                                                                                                                                   Marv LouRupo,St LawrenceCountyClerk
                                                                      Defendants.




             TO THE             ABOVE-NAMED                           DEFENDANTS:


                         YOU ARE                  HEREBY               SUMMONED                       and     required         to serve          upon      Plaintiff            Servants              of      Jesus       and


             Mary,      Inc.,      attorneys           an Answer           to the        Complaint            in this    action         within      twenty          (20)          days        after        the   service


             of this     Summons,              exclusive          of the day            of service,         or within     thirty          (30)    days     after        service          is complete                  if this


             Summons              is not      personally           delivered            to   you    within       the     State      of      New     York.               In   case        of     your          failure       to


            answer,          Judgment          will      be taken        against         you   by default          for   the     relief         demanded           in the         Complaint.


                         Plaintiff         has     its    principal        office        located       in the      County          of     St.    Lawrence,              at   17000            State           Route        30,


            Constable,            New      York.           The    venue           is based     on the         location      of the         principal        office           of    Plaintiff            pursuant            to


            CPLR        503(c).




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                 DATED:     March    29,     2018                                            BARCLAY                 DAMON                 LLP



                                                                                             By:
                                                                                                                      ewl.        Larkin,        E   .


                                                                                             Attorneys         for    Plainttff
                                                                                             Office      and     Post        Office    Address

                                                                                             Barclay         Damon           Tower
                                                                                             125 East        Jefferson            Street

                                                                                             Syracuse,         New       York         13202
                                                                                             Telephone:              (315)      425-2805


             TO:              The    National        Committee        for     the National         Pilgrim      Virgin        of Canada
                              452    Kraft      Road,
                              Fort   Erie,      Ontario,    Canada      L2A        4M7


                              The    Fatima       Center    U.S.A.,         Inc.
                              P.O.   Box      1470

                              Buffalo,       New     York    14240




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               SUPREME                  COURT
               STATE          OF        NEW YORK                        COUNTY                  ST.      LAWRENCE


               SERVANTS                   OF        JESUS           AND          MARY,            INC.,         d/b/a      THE
               FATIMA               CENTER


                                                                        Plaintiff
                                                                                                                                                                    COMPLAINT


                                                                                                                                                                          Index      No.:

               THE             NATIONAL                         COMMITTEE                                 FOR              THE
               NATIONAL                      PILGRIM                VIRGIN                OF       CANADA                  AND
               THE       FATIMA               CENTER                U.S.A.,        INC.,


                                                                       Defendants.




                                                                                                                                                                                   ("Plaintiff'
                              Plaintiff             Servants          of        Jesus      and       Mary,        Inc.,      d/b/a         The      Fatima          Center                                 or


                "SJM"),            by   its attorneys,           Barclay            Damon            LLP        and     as and       for     the    Complaint              against       Defendants


                                                                                                                                                       ("                   Pilgrim"
                The      National          Committee            for    the National                Pilgrim        Virgin       of Canada               ("National           Pilgrim")         and       The


                                                                                                                                                      "Defendants"
                Fatima        Center          U.S.A.,       Inc.,     ("Fatima            Center         U.S.A.")          (collectively              "Defendants"),               hereby         alleges


                as follows:


                                                                                                        PARTIES


                              1.              Plaintiff       is a New             York         not-for-profit             corporation,               formed        in     1988      under        and    by


                virtue       of the       laws      of the     State        of New         York,         with     its principal             place       of business            located       at 17000


                State     Route         30,    Constable,            NY         12926.


                              2.              Upon         information             and     belief,         National        Pilgrim           is a Canadian                corporation,            formed


                in    1974     under          and     by    virtue         of    the     laws      of    the     Province         of       Ontario,       with       its     principal        place        of


                business           located       at 452      Kraft         Road,        Fort     Erie,      Ontario,        Canada           L2A       4M7.




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                                 3.             Upon         information                   and     belief,         Fatima       Center            U.S.A.         is a New                  York    not-for-profit


                 corporation,                formed          in    2017             under        and      by     virtue        of     the     laws         the    State         of         New       York,      with           a


                 business             address       ofP.O.           Box            1470      Buffalo,         NY        14240.


                                 4.             Upon         information                   and     belief,         Fatima       Center           U.S.A.          listed       the      property            owned          by

                                                                           19th
                 Plaintiff,             located         at     468                     Street,           Niagara          Falls,         NY         14303          ("Plaintiff's                  Niagara           Falls


                 Facility"
                 Facility"),            as its location              for       mail        process        on its Articles                of Organization                  filed        with       the New           York


                 State         Department              of State          in June           2017.


                                                                                      JURISDICTION                          AND          VENUE


                                 5.             This     court        has           subject       matter        jurisdiction              over      this     matter           because             it arises       out     of


                 New        York        State       statutes       and         common              law.


                                 6.             This     court           has        personal         jurisdiction             over        National           Pilgrim            pursuant             to CPLR              §§


                 301,       302        on     the    basis        that      National              Pilgrim           committed               and     continues             to      commit             tortious           acts


                 within         the state.


                                 7.             This     court           has        personal         jurisdiction             over        National           Pilgrim            pursuant             to    CPLR          §§


                 301,       302        on     the    basis        that      National              Pilgrim           committed               and     continues             to      commit             tortious        acts


                 without          the       state    causing         injury            to persons            or property              within        the      state,       and        (i)     regularly        does        or


                 solicits        business,           or engages                another           persistent          course         of      conduct,         or derives                substantial            revenue


                 from       goods           used    or services                rendered            in the       state;      or (ii)       expects          or reasonably                    should        expect        the


                 act      to     have         consequences                     in     the        state       and      derives            substantial              revenue              from          interstate           or


                international                commerce.


                                8.             This      court       has personal                  jurisdiction             over         Fatima          Center       U.S.A.               pursuant          to CPLR



                 §§ 301,         302        on the basis           that        Fatima          Center          U.S.A.        is a New             York      corporation.


                                9.             The      amount             in controversy                  exceeds          the jurisdictional                   limits        of all lower               courts.




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                                  10.             Venue              is proper           pursuant           to CPLR              § 503        based       on the residence                        of Plaintiff.


                                  FACTUAL                   ALLEGATIONS                                 APPLICABLE                         TO ALL               CAUSES                     OF ACTION


                                                                     Relevant            History            of Plaintiff             and        National            Pilgrim


                                  11.             Prior         to     its     incorporation,                  the    predecessor                 to Plaintiff             was         formed            in       1978      as an


                 apostolate               spiritual         group              of    the       Roman           Catholic            Church              under        the        leadership              of     Fr.     Michael


                 Jarecki,          an ordained               Roman                Catholic           priest.


                                  12.             In or about                 1981,         Plaintiff's         predecessor                group         began        to work               collaboratively                  with


                 National               Pilgrim          and          National              Pilgrim's           president,              Fr.      Nicholas            Gruner,                an    ordained               Roman


                 Catholic           priest,        on matters                  of spiritual             outreach           and      formation             and       on production                      and     distribution


                 of the Fatima                  Crusader                publication.


                                  13.             In      1988,              Plaintiff            was       organized               and          incorporated                   to     spread               and       promote


                 knowledge                 of     and      obedience                  to,      the      message            of     Our         Lady       of     Fatima               and     related           matters;          to


                 promote           the      spiritual,               intellectual             and     apostolic            formation              of workers               for       the    message               of Fatima;


                 to maintain               mailing          lists           and     to mail          and      ship     religious           books,          materials,                publications,                  video     and


                 audio        tapes         and        films;          to     promote             knowledge                of     and     devotion             to    the        Blessed            Virgin            Mary;       to


                 facilitate         broadcast               of         radio        and        television            programs              with         respect           to     the        Fatima            message;           to


                promote            the      Fatima           Crusader                 magazine;                to promote               and      aid     regional           centers,             organizations                and


                 individuals              with         similar          purposes;              and      to promote               pilgrimages              to Fatima              and        approved              apparition


                 sites.


                                  14.             At    the time              of Plaintiff's               incorporation,                 Fr.    Jarecki        was        the        Chairman                of the        board


                of directors              and      Fr. Gruner                  was       one      of the directors.


                                  15.             In or about                 1989,         Fr.      Gruner          was        elected         president           of Plaintiff                 and     served          in that


                role      until     his death             in 2015.




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                               16.                Upon         information                and      belief,           Fr.       Gruner        became             president           of National                 Pilgrim         in


                 1981        and     served           in that        role     until       his death            in 2015.


                               17.                Plaintiff          and      National             Pilgrim               worked           together           subsequent              to      1988          in    spreading


                 the    Fatima             message,              with         Plaintiff            conducting                   its    efforts       in      the       United             States          and      National


                 Pilgrim       conducting                    its efforts          in Canada             and         other        locations         outside          of the          United         States.


                               18.               Under           the         leadership                of      Fr.         Gruner,            Plaintiff            and         National              Pilgrim              often


                 cooperated                in,        amongst              other         things,            joint          publications              and         other          programs,                  and      sharing


                 resources.


                               19.               While         Plaintiff           and       National               Pilgrim           shared       Fr.     Gruner's             leadership                and      shared           a


                 similar       goal         of        spreading             the       Fatima           message,                 each       has     been          and      is    a separate                 and      distinct


                 organization               with       differing            board         members               and        different         geographic                operations.


                               20.               During          the        course        of     its    operations,                   Plaintiff       assembled                 a computerized                      mailing


                 list   consisting               of    the      names          and        addresses                 of     approximately                  900,000           U.S.          residents,             including

                                                                                                                                             ("                                            List"
                 present,          past,     active,           inactive            and     deceased                 individuals              ("Plaintiff's             Mailing             List"),          from        which


                 Plaintiff         received            the     bulk        of its pledges               and         donations.


                              21.                Plaintiff           s Mailing            List      was        and         is owned           by    Plaintiff,           proprietary               to Plaintiff            and


                 was    intended            to be used               for     Plaintiff           s benefit.


                              22.                National            Pilgrim          was        granted             rights       to use Plaintiff                 s Mailing              List       by     Plaintiff         for


                joint      mailings              and publications                   starting           in 2005.


                              23.                Since        approximately                    2005,          Plaintiff           s Mailing              List      was    maintained                  on        a software


                                                                       Tracker."
                 system       known              as "Donor


                              24.                The     content            and       data       contained                 on Plaintiff            s Mailing             List       were         entered,          created,


                 updated       and         managed              by     Plaintiff          s employees                    on Plaintiff's              computers,                at Plaintiff               s offices.




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                              25.            On        a regularly,               often          daily,       basis           Plaintiff           s    employees               would           run      a     bridge


                computer             program,             which           uploaded              Plaintiff         s Mailing                List        to    National              Pilgrim's           computer


                system        so that        it could          be used          for joint        mailings             and publications.


                              26.              In      April          2017,       National                Pilgrim         installed               a     software             system            on     Plaintiff           s

                                                                                  Tracker"
                computers             known             as      "Fatima                                which           allowed              National               Pilgrim          to     directly           access


                Plaintiff's          Mailing           List     for     the first       time.


                              27.            Although             it was         managed             on the           Fatima        Tracker              system,           Plaintiff's          Mailing            List


                remained            the exclusive               property          of Plaintiff.


                              28.            Upon             information              and       belief,       Plaintiff's                Mailing            List     remained              separate             from


                other     mailing          lists      held      on the National                  Pilgrim          computer            network.


                                                                                 The      FATIMA                  CENTER                  Mark


                              29.            Since         at least           as early       as 2004,             Plaintiff         has      operated               in the        United        States         under


                                                               Center."
                the name            "The     Fatima


                              30.            On       or about           September               16, 2004,            pursuant            to the         terms       of General             Business              Law



                ("GBL")             § 130,         Plaintiff          filed     an Assumed                  Name        Certificate               with       the     New          York      State       Division

                                                                                       Center."
                of State       for    the name             "The         Fatima


                              31.            On       or about            September              16,      2004,        pursuant            to the           terms      of     GBL          § 130,          Plaintiff


                filed    an Assumed                  Name         Certificate            with      the New             York       State       Division              of State         for   the name             "The


                              Network."
                Fatima


                              32.           On        about       September              16, 2004,            pursuant            to the          terms          of GBL           § 130,       Plaintiff          filed


                an Assumed                 Name         Certificate             with     the      New        York        State        Division              of     State     for     the    name           "Fatima


                                                         (FNTV)."
                Network         Television




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                                 33.           Copies             of     the     New          York        State     Division            of    State     filing       receipts          for     the       Assumed

                                                                                                                                     "A."
                 Name        Certificates                are attached              collectively              as Exhibit


                                 34.           Since         at least           as early        as 2004,          Plaintiff           has been         the   sole        and    exclusive              user      of the


                                                                                                                                              Mark"
                 FATIMA                  CENTER              trademark                 (the     "FATIMA                   CENTER              Mark")         in     the       United         States            and      the

                                                                                                                    CENTER,"                                                         NETWORK"
                 related           marks,           including              "THE               FATIMA                                          "THE           FATIMA                                                    and


                                                                                                     (FNTV)."
                 "FATIMA                 NETWORK                       TELEVISION


                                 35.           Plaintiff's              rights         in the    FATIMA                   CENTER              Mark      and        the     related      marks            began           on


                 their     first       use in New            York,             since     at least         as early        as 2004.


                                 36.           Since         at        least     as     early        as     2004,         the        FATIMA            CENTER                 Mark          and        the     related


                 marks       have          been     in continuous                  use by Plaintiff.


                               37.             Since       at least             as early        as 2004,            National           Pilgrim         has been              aware     that       Plaintiff            has


                been       the      sole      and    exclusive                 owner      and        user    of the FATIMA                        CENTER            Mark        and     related              marks       in


                the United               States.


                               38.             Upon          information                 and     belief,          since          it was       formed         in    June        2017,         Fatima            Center


                U.S.A.             has     been      aware              that      Plaintiff          has      been        the        sole     and      exclusive              user     of     the       FATIMA


                CENTER                 Mark        and    related          marks          in the United               States.


                               39.             At    no time             has National                Pilgrim         operated           within        the United              States        under        the     name


                                              Center"
                "The        Fatima                             or        any      similar        name,            until         it   established         Fatima              Center         U.S.A.             for      the


                purpose            of infringing             upon         the FATIMA                   CENTER                 Mark          and   related         marks        held    by Plaintiff.


                              40.              The       FATIMA                  CENTER                Mark         and       related         marks      are       valid       and     are        in    full         force


                and      effect.




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                                                                            Plaintiff           s Niagara               Falls        Facility


                             41.            In     November                2014,            Plaintiff             purchased               Plaintiff               s       Niagara              Falls           Facility,

                                                                                                                                                                                    19"'
                consisting          of      a commercial                 building           and      surrounding                  lot,        located            at     468         19        Street,          Niagara


                Falls,     NY       14303.


                             42.            In    order      to    purchase             Plaintiff         s Niagara               Falls         Facility,               Plaintiff             obtained             a loan


                from       M&T       Bank        secured          by a mortgage                and      promissory                note.


                             43.            Since         November            2014,         subject           only      to     the       mortgage,                 Plaintiff            has        been        the          sole


                owner      of Plaintiff's             Niagara         Falls     Facility.


                             44.            Plaintiff's           Niagara           Falls         Facility           was        used          as     the          location              for        Plaintiff            s    St.


                Joseph's           Book        Center,        another          assumed              name          Plaintiff          has        on       file         with       the       New         York             State


                Division        of State.


                             45.             Plaintiff's          Niagara           Falls      Facility           was      also        used        for     office             space        and        to    store           and


                warehouse           religious         materials,           publications                 and       literature           that     were            jointly         used          by     Plaintiff              and


                National          Pilgrim        in their      missions             of promoting                  the    message               of Our             Lady          of Fatima              and         related


                matters.


                                                                         Formation                of Fatima             Center            U.S.A.


                             46.            On or about            June       2017,         Fatima           Center          U.S.A.           was        formed               without          the     knowledge


                of Plaintiff.


                             47.            Upon          information            and                          Fatima            Center             U.S.A.              was          created            as      a        mail-
                                                                                             belief,


                processing          facility        for    National           Pilgrim         to accept              donations             and       issue            tax      receipts            in the          United


                States.


                            48.             Despite         National            Pilgrim's               knowledge                 of      Plaintiff's                   exclusive                  rights          to       the


                FATIMA             CENTER             Mark         and     related          marks         in the         United           States,           National                Pilgrim            established




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                 Fatima            Center        U.S.A.            to cause           confusion            as to the        source,         sponsorship,           or affiliation             of Plaintiff's


                 services           and     divert           donations             intended         for     Plaintiff.


                                   49.           Since            the    time        of its incorporation                  in June         2017,       Fatima       Center          U.S.A.      has    had      no


                 affiliation             with        Plaintiff.


                                   50.           Fatima             Center           U.S.A.        listed         Plaintiff's         Niagara            Falls    Facility          as its     location        for


                 mail      process              on its       Articles           of     Organization               filed     with      the     New        York      State       Department             of State


                 without            the knowledge                       or permission             of Plaintiff.


                                   51.           Since            the    time        of its incorporation                  in June         2017,       Fatima       Center          U.S.A.      has had        no


                 right        or permission                  to enter        or use Plaintiff's                   Niagara          Falls     Facility.


                                   52.           Since         the time              of its incorporation                  in June         2017,       Fatima      Center           U.S.A.      has had        no


                 right        or    permission                to        conduct         business,           receive         mail      or     receive        process          at Plaintiff's           Niagara


                 Falls        Facility.


                                                                         National             Pilgrim's           Separation               from       Plaintiff


                                   53.           On       or about              May          1, 2017,       Fr.     Paul        Kramer,           an ordained            Roman         Catholic           priest,


                 was     elected           president              of Plaintiff.


                                   54.           On       or about           July       24,      2017,       a meeting             was      held     between        members             of the      board       of


                 directors           of Plaintiff,                excluding            Fr.     Kramer         who         was     unable       to attend          due     to a medical           condition,


                 and     members                of     the     board         of      directors        of    National            Pilgrim        at National              Pilgrim's       offices        in Fort


                 Erie,     Ontario.


                                   55.           During             the     July       24,     2017         meeting,            National           Pilgrim's       board           demanded           that     Fr.


                 Kramer            be removed                 as president              of Plaintiff           or National               Pilgrim         would     sever       its relationship              with


                 Plaintiff.




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                                56.            On        or       about         August         22,       2017,            National              Pilgrim           on     behalf            of     itself       and,      on


                 information              and      belief,         on     behalf          of Fatima            Center         U.S.A.,             published             and         distributed              a letter     to


                 its own           mailing        list      and     to Plaintiff's             Mailing             List     of approximately                       900,000               recipients.            A copy

                                                                                                      "B."
                 of the       letter     is attached              hereto          as Exhibit


                               57.             The       August           22,      2017      letter         was     signed         by      Leonard            Cecere,              president            of    National


                 Pilgrim           and other         members               of National            Pilgrim's               board         of directors.


                               58.             Upon           information             and      belief,         National           Pilgrim            caused            the        August         22,    2017        letter


                 to be published                and posted                on the Internet,                directed          and      available              to the public                 at-large.


                               59.             The       August            22,     2017       letter         falsely        stated        that      "Father            Gruner             set up        Servants         of


                 Jesus        and      Mary,         Inc.        ("SJM"),           a not-for-profit                   corporation                under       the       laws         of     New        York         State.

                                                                                                                                                                         States."
                 SJM         was     created         to receive            and      process          mail      received           within          the United


                               60.             The       August            22,     2017        letter        falsely        stated         that      "[t]he        Board            of     Directors           of     SJM


                 were        not       involved             in    the      creation          and         implementation                     of      programs                 to     achieve            The      Fatima


                 Center's           mission,          nor        in the         writing      or production                   of The             Fatima        Center              literature,          nor      even      in



                 making            decisions         about         the     daily      operations              of    SJM.          All      of that          was     done           by     Father        Gruner          and

                                                                                    team."
                 The     Fatima          Center          management


                               61.             The       August             22,     2017        letter        announced                  that      National             Pilgrim             was        severing          its


                connection              with      Plaintiff.


                               62.             The       August           22, 2017          letter       announced             the       formation            of Fatima                  Center        U.S.A.


                               63.             The       August           22,     2017      letter       falsely          described             Plaintiff         as "the           U.S.        mail-processing

                facility."




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                                64.             The      August           22,      2017          letter     advised               Plaintiff's           donors           that       "All         future          checks         and


                 donations              should           be        made         to     The         Fatima             Center              USA           Inc.,       rather               than        the        Servants             of

                                       Mary."
                 Jesus         and     Ma


                                65.             On       August             24,       2017,         Leonard              Cecere,                president               of     National              Pilgrim               advised


                 Plaintiff's            board           of     directors              via         electronic             mail             that       National                 Pilgrim              was          severing             its


                 connections              to Plaintiff.


                                66.             Mr.      Cecere's               August             24,       2017            electronic              mail          to        Plaintiff            included            the       first


                 notification            to Plaintiff              of the creation                 of Fatima             Center            U.S.A.


                                67.             Mr.      Cecere's              August            24,       2017        electronic                mail        to     Plaintiff              advised             Plaintiff        that


                 National             Pilgrim           had        ended          Plaintiff's              access            to     the     jointly             used          computer               system,               thereby


                 cutting        off    Plaintiff's            access         to Plaintiff's                Mailing            List.


                                68.             On      or     about           September                  1, 2017,            National               Pilgrim             on        behalf           of     itself        and,     on


                 information              and     belief,           on    behalf           of    Fatima           Center               U.S.A.,        published                   and      distributed              a letter         to


                 its own         mailing         list        and    to Plaintiff's                Mailing             List        of     approximately                       900,000             recipients.               A copy

                                                                                                          "C."
                 of the letter           is attached               hereto         as Exhibit


                                69.             The      September                 1, 2017             letter     was         signed            by    Andrew                 M.     Cesanek,               vice      president


                 of National            Pilgrim.


                                70.             The      September                   1, 2017           letter,      falsely             stated       that       Plaintiff           was          "formed            by      Father


                 Nicholas             Gruner          and      [has]        been       maintained                 by         the       management                   team,           Board           of     Directors            and

                                                                                                                                                                                    2015."
                 staff     of The        Fatima          Center          Canada             offices         since       Father's             passing              in April


                                71.             The          September                1,        2017        letter,          falsely             stated           that         "Although                  your        monthly


                 payments             were       received                and      processed                through                Servants           of      Jesus            and        Mary,           all     funds        were


                                                                                  Canada...."     ."
                 forwarded             to the head             office          in Canada.     . .




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                              72.             The     September               1, 2017         letter        asked       recipients               to "be        sure      to contact                    Servants         of


                 Jesus      and      Mary          at 518-483-7626               and       cancel           you       pledge       club          membership                  and       ask        them        to void

                                                                     checks...,"     ."
                 and return          your      post-dated            checks.     . .


                              73.             At     a point         in time      on      or after          June       19,     2017,        Fatima             Center           U.S.A.             on    behalf         of


                 itself     and,        on    information              and      belief,        on        behalf         of     National             Pilgrim,             issued             an         "URGENT

                 NOTICE"
                                        published             and      distributed            to      the     National             Pilgrim            mailing            list         and         to    Plaintiff's


                                                                                               NOTICE"                                                                                     "D."
                 Mailing        List.        A copy       of the "URGENT                                                is attached              hereto         as Exhibit


                              74.              Upon        information               and       belief,            Fatima         Center             U.S.A.            caused            the            "URGENT

                 NOTICE"                                                                                                                                                                                               at-
                                        to    be published             and      posted         on      the     Internet,          directed            and       available              to the           public


                 large.

                                                                                NOTICE"
                              75.             The      "URGENT                                              falsely          identified           Fatima            Center             U.S.A.             as      "The


                              Center."
                 Fatima

                                                                                NOTICE"
                              76.             The      "URGENT                                           falsely          stated          that      Plaintiff            "can          not         collect        your


                                                                                                                                                                                       for."
                 monthly          donation          because          they     cannot       fulfill       the      goals        which        your       gifts     are used


                                                                                NOTICE"
                              77.             The     "URGENT                                            falsely        stated         that:        "SJM         is     trying             to     change          your


                 donation         to another           club     that     they     have        now        created          and     is not         affiliated           with           The        Fatima         Center


                                                         Gruner."
                 or the work            of Father


                              78.             Upon        information              and        belief,          during           the       summer              and        fall         months             of      2017,


                 National           Pilgrim         and/or          Fatima       Center            U.S.A.           entered           Plaintiff's             Niagara                Falls         Facility           and



                 unlawfully             removed          religious           materials,            statuary,          publications,                 literature           and         equipment                 owned



                 by Plaintiff           without        Plaintiff's          permission               or consent.


                              79.             On     or about         September            21,       2017,        National            Pilgrim          was       notified             in writing              that     its


                 permission           to use Plaintiff's               Mailing         List        had      been       rescinded           by Plaintiff.




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                                        80.              On      or     about         September              21,         2017,       Plaintiff           demanded                in     writing            that     National


                        Pilgrim          immediately                  cease       use of Plaintiff's                 Mailing           List      and         return      it to Plaintiff.


                                        81.              Despite          Plaintiff's            demand,              Defendants                 have          neglected,               failed           and      refused            to


                        return        Plaintiff          Mailing          List.


                                        82.              Upon         information               and    belief,           Defendants               continue             to use         Plaintiff's              Mailing            List


                        without          Plaintiff's             permission             and      consent.


                                        83.              On      or    about         October           10,     2017,         National             Pilgrim,             applied           for      a U.S.           trademark


                        registration               for   the term,          THE         FATIMA               CENTER                (Appln.             No.     87/640,196).


                                        84.              The      trademark               application              for      the    term,         THE           FATIMA                 CENTER                   (Appln.            No.



                        87/640,196)                 has not           yet been        published             by the U.S.              Patent        and        Trademark                Office.


                                        85.              At     the      time        National          Pilgrim             applied         for     a U.S.             trademark                registration              for       the


                        term,         THE          FATIMA               CENTER              (Appln.           No.          87/640,196),                National              Pilgrim           knew         that        Plaintiff


                        has     been         the       sole     and      exclusive            user     of     the        FATIMA             CENTER                    Mark       and      related           marks           in the


                        United         States.


                                       86.               On or about              November              22,    2017,          counsel            for    Fatima           Center         U.S.A.            sent     a letter         to


                        Plaintiff            falsely          claiming          trademark              infringement                  and       unfair          business          practices               for      use      of      the


                        FATIMA                CENTER               Mark,          which         had    been         held     by Plaintiff               since         at least      2004.


                                       87.               The      November                22,     2017         letter        falsely          stated          that      Plaintiff             was        "receiving               and



                        depositing             checks           written         to    [Fatima          Center            U.S.A.]        by       donors          intending              for      their      money            to     be


                                                                                                                                                 clubs."
                        directed         to [Fatima              Center         U.S.A.]          and     its various              pledge


                                       88.               Since        on or about             September              2004,         Plaintiff           has used           the       Fatima          Center          name           for



                        banking          purposes,               including            depositing            of donation               pledge           checks           from        donors          made          out     to one


                        The         Fatima        Center         or the      related        marks.




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                                 89.             The       November                      22,     2017         letter           was       copied          and        published              to     the        manager          of



                Community                     Bank        in        Malone,             NY       where            Plaintiff           kept      an       account           for        banking             including         the


                deposit          of pledges              and         donations.


                                 90.             As     a consequence                          of the     November                   22,     2017        letter,        Community                    Bank       refuses       to


                                                                                                                                                               Center."
                honor        any        checks          presented                by Plaintiff             made           out    to "The        Fatima


                                 91.             On      December                  21,     2017,        Plaintiff              through        counsel,             sent     a cease            and     desist      letter     to


                National               Pilgrim          and           Fatima            Center          U.S.A.             stating,          among          other          demands,                  that:     "National


                Pilgrim           and         (Fatima               Center             U.S.A.)         are       hereby          required            to immediately                     cease          and      desist      the



                rendering                of      any      services                or     advertising,                marketing,                distributing,                 importing,                   exporting          or



                selling          any      product               in      the        United         States           under             (THE         FATIMA                  CENTER,                    THE        FATIMA


                NETWORK                       and       FATIMA                   NETWORK                      TELEVISION                       FNTV)               or     any       other        phrase           likely      to

                                                                                                                                                                            advertising."
                cause        confusion                 with         it,on      the       Internet,           in social            media,        and       in print


                                 92.             Despite             Plaintiff's           demand,               upon          information            and      belief,          Defendants                 have     refused


                to     cease           and       desist         and          continue             to      use       the         FATIMA                CENTER                 Mark             without           Plaintiff         s


                permission               or consent                 and      continue            to infringe             on Plaintiff's               FATIMA                CENTER                Mark.


                                 93.             Despite             Plaintiffs            demand,               upon          information            and      belief,          Defendants                 have     refused


                cease       and         desist         from          utilizing           Plaintiff           s proprietary                 information                  including             Plaintiff         s Mailing


                List       and    continue             to use Plaintiff's                       Mailing           List     for the          benefit       of Defendants                    without           permission


                or authority.


                                 94.             Despite              Plaintiff           s demand,                Defendants                 have         neglected,                 failed         and      refused         to

                                                                                                                                                          Defendants'
                account           to Plaintiff                for      any       donations              received               as a result          of                                   unauthorized                 use    of


                Plaintiff         s proprietary                 materials,               mailing          list     and         FATIMA             CENTER                  Mark.




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                                95.           Despite            Plaintiff's           demand,             Fatima              Center          U.S.A.            has         neglected,             failed          and


                 refused        to withdraw             their       objection          to Plaintiff's                use of the             FATIMA               CENTER               Mark       for    banking


                 purposes.


                               96.            Despite           Plaintiff           s demand,             upon          information                 and     belief,          National           Pilgrim             has


                 neglected,            failed        and        refused          to     file    a   notice              of      express            abandonment                   of     U.S.         trademark


                 application           No.      87/640,196             with         the United        States            Trademark              Office.


                               97.            Despite        Plaintiff's              demand,         upon             information                 and     belief,          Fatima           Center          U.S.A.


                 has      neglected,          failed        and      refused          to amend            its        filings         with     the     New         York         State         Department               of


                 State       to remove          all references                to Plaintiff's         Niagara                 Falls     Facility.


                               98.            Despite           Plaintiff's            demand,            Defendants                   have         neglected,              failed       and        refused           to


                 return        the     publications              and        other      inventory              materials               removed             from         Plaintiff's           Niagara              Falls


                 Facility.


                               99.            Despite        Plaintiff's             demand,        Defendants                   have        neglected,           failed        and      refused         to enter


                 into      a written            agreement              binding          them        not         to     render          services,           or     market,             advertise,             or     sell


                 products            in the     United          States         under      the    phrase,              The       Fatima         Center,           nor      any        other     mark          that      is



                 likely      to cause         confusion            with        it in the future.


                               100.           Despite         Plaintiff's              demand,            Defendants                   have         neglected,              failed       and        refused           to


                 agree       to reimburse            Plaintiff         for      its attorney         fees.

                                                                                                              Defendants'
                                                                          Consequences               of                                      Conduct

                                                                            Defendants'
                               101.           As    a result         of                             actions             and      conduct,            Plaintiff          no     longer         has      access         to


                 Plaintiff's          Mailing        List    of approximately                    900,000               names           and    U.S.        addresses,            from         which      most          of


                 its pledges          and     donations            were        received.




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                              102.          From          2012       to        2016,        Plaintiff              averaged             approximately               $4,300,000.00                        per    year        in


                annual       revenue          from        pledges          and donations.

                                                                               Defendants'
                              103.          As     a result          of                                      actions         and        conduct,          Plaintiff's            annual            revenue          from


                pledges        and    donations             in 2017             dropped             to approximately                      $2,900,000.00.


                                                                                       Defendants'
                              104.          As       a     result              of                                        actions          and       conduct,                 Plaintiff             has         received



                approximately                $180,000.00                  in    pledges              and       donations,               which       included             a $75,000                 one-time          gift,


                to-date      in 2018,          making           Plaintiff's                expected            annual            revenue         from       pledges            and       donations              in 2018


                to be approximately                     $425,000.00                   to $500,000.00.


                                                                               Defendants'
                             105.           As     a result          of                                      actions          and       conduct,          Plaintiff's             bank         will       no     longer


                accept      checks      for      pledges          and          donations              made          out     to The        Fatima         Center.

                                                                           Defendants'
                             106.           As    a result          of                                    actions           and     conduct,         Plaintiff           has       been       deprived             of      its



                property        in the form              of religious               materials,               statuary,         publications,              literature            and      equipment.

                                                                                                                   Defendants'
                             107.           Upon         information                  and          belief,                                  use     of     Plaintiff's             name,            identification


                and     marks        have      caused          actual          confusion               among              Plaintiff's        donors          and        members              of the        public          at


                large     as to as to the identity                   and            source          of the products                 and/or         services        rendered.


                             108.           As    a consequence                       of     all     of      the    foregoing,             Plaintiff's          ability          to      solicit         and     collect


               pledges        and     donations            consistent                with      its mission                 and     purpose         has been             severely           diminished                such


               that     Plaintiff      is now           collecting              approximately                      ten to fifteen               percent        of the         pledges              and    donations


               it historically         has received.


                                                             AS AND                   FOR           A FIRST                CAUSE            OF ACTION
                                                                                AGAINST                      ALL         DEFENDANTS
                                                                  (Common                     Law          Trademark                    Infringement)


                             109.           Plaintiff        repeats                and     reasserts              all    allegations             contained             in     Paragraphs                 1 through


                108 above           as if they          were     stated             in full        herein.




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                              110.          Defendants,             in     connection                 with         the    their      use     of         the     FATIMA                 CENTER                Mark,


                used        in commerce            a slogan,         trade        dress,         word,         term,       name,      symbol              or device,           or any            combination


                thereof,        or    a false        designation               of      origin,          false        or    misleading                   description            of         fact     or     false      or


                misleading            representation               of fact,         which         was        or is likely           to cause              confusion            or to cause                 mistake


                or to deceive           as to an affiliation,                 connection,                or association               with         Plaintiff.

                                            Defendants'
                              111.                                   actions           constitute              willful       infringement                  of Plaintiff's                 exclusive          rights


                in the      FATIMA             CENTER              Mark.


                              112.        In      violation         of      the      common                  law     of     the     State          of     New          York,         Defendants                have



                willfully       used        and     infringed            Plaintiff's             trademarks,               in     connection                  with     solicitation                of    religious


                and    charitable         donations,            sale,      offering             for    sale,       distribution,            or advertising                   of     goods           or services


                on or in connection                  with       which         such       use is likely                   to cause         confusion,                 or to cause             mistake,         or to


                deceive.

                                                                                                                           Defendants'
                              113.        As       a direct        and      proximate                 result        of                                  conduct,           Plaintiff             has      suffered


                irreparable          harm      to its       valuable         marks              and    its     reputation           in the         community.                     Unless           Defendants


                are    restrained           from       further           infringement                  of      Plaintiff's           marks,              Plaintiff          will          continue           to      be


                irreparably          harmed.


                              114.       Plaintiff           has    no      adequate              remedy            at law         that     will         compensate                 for      the        continued

                                                                                                 Defendants'
                and    irreparable          harm      that     it will       suffer        if                              acts     are allowed                 to continue.

                                                                                                                          Defendants'
                              115.       As       a direct         and      proximate                 result        of                                  conduct,           Plaintiff             has      suffered


                damages         to its valuable               marks,        fund       raising,          outreach            platform,             reputation,             and      other          damages           in


                an amount            to be proven            at trial.




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                                                               AS     AND             FOR         A SECOND                       CAUSE              OF ACTION
                                                                                     AGAINST                  ALL          DEFENDANTS
                                                                     (Unlawful                   Use     of Name                 or Identification                    of
                                                           Non-Profit                   Organization                  In        Violation            of GBL           § 397)


                                116.           Plaintiff           repeats            and      reasserts           all      allegations              contained              in    Paragraphs                   1 through


                115 above              as if they          were      stated            in full     herein.


                                l 17.          Defendants,                    in     connection            with          the      their      use         of    the    FATIMA                    CENTER                Mark,


                used      for      advertising                 purposes                or   for        purposes             of     trade,          the        name,         symbol,              device          or    other


                identification                of Plaintiff,           a non-profit                 corporation,                  organized               exclusively              for        religious         purposes,


                without         having          first      obtained                the written          consent            of Plaintiff,            in violation              of GBL                § 397.

                                                                                                                                  Defendants'
                              118.             As       a direct         and          proximate           result           of                                   conduct,           Plaintiff             has     suffered


                irreparable             harm        to its valuable                   marks,           name,        identification                 and        its reputation                 in the       community.


                Unless        Defendants                 are restrained                 from       further          infringement                   of Plaintiff's             marks             and      unlawful        use


                of Plaintiff's            name           and    identification,                   Plaintiff         will         continue          to be irreparably                     harmed.


                              119.             Plaintiff           has        no      adequate           remedy             at law          that     will       compensate                    for     the      continued


                                                                                                        Defendants'
                and    irreparable              harm        that     it will          suffer      if                                 acts      are allowed                 to continue.

                                                                                                                                   Defendants'
                              120.             As       a direct          and         proximate            result           of                                 conduct,            Plaintiff             has     suffered


                damages            to     its       valuable              marks,            fund         raising,            name           and          identification,                 outreach              platform,


                reputation,             and     other       damages                 in an amount               to be proven                 at trial.


                              121.             Defendants,                in        connection            with           the      their      use         of    the    FATIMA                    CENTER                Mark,


                knowingly              violated          GBL        § 397(1).

                                                                                   Defendants'
                              122.             As       a result         of                                knowing                 violation             of   GBL          § 397,            Plaintiff         is entitled


                to an award             of exemplary                 damages                in a discretionary                     amount            to be awarded                  at trial.




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                                                                AS AND            FOR             A THIRD                     CAUSE                 OF ACTION
                                                                               AGAINST                   ALL             DEFENDANTS
                                                                            (Common                 Law          Unfair               Competition)


                              123.          Plaintiff           repeats         and      reasserts               all      allegations                 contained                 in    Paragraphs                     1 through


                122 above            as if they          were         stated     in full          herein.


                              124.          In    violation             of     the     common                 law             of     the      State          of    New           York,             Defendants                 have


                engaged         in unfair          competition                 by using            a mark              so similar              in sight,            sound            and         meaning             to that        of


                Plaintiff's          FATIMA              CENTER                Mark      that        the     public                will    be confused                  as to the                identity           and    source


                of the products             and/or         services            rendered.


                              125.        Upon            information                 and          belief,             Defendants                    have           acted            in      bad           faith,         without


                Plaintiff's          authorization               or     consent,         and         with         full         knowledge                  of      Plaintiff's               FATIMA                   CENTER


                Mark.

                                          Defendants'
                              126.                                          aforementioned                       acts         constitute              unfair            competition                     in    violation             of


                Plaintiff's      rights          under      New          York        State        common                 law,         as preserved                 by    GBL              § 360-o.

                                                                                                                                   Defendants'
                              127.        As       a direct            and     proximate                result           of                                       conduct,                Plaintiff           has     suffered


                irreparable          harm        to its     valuable            marks             and      its reputation                     in the           community.                        Unless          Defendants


                are restrained           from       further           infringement                 of Plaintiff's                    marks          and        unfair      competition,                      Plaintiff         will


                continue       to be irreparably                   harmed.


                              128.        Plaintiff             has     no     adequate             remedy                at law             that     will        compensate                      for      the      continued

                                                                                                   Defendants'
                and     irreparable         harm         that     it will       suffer       if                                       acts     are allowed                to continue.

                                                                                                                                   Defendants'
                              129.        As       a direct           and      proximate                result           of                                       conduct,                Plaintiff          has      suffered


                damages         to its valuable                 marks,         fund      raising,            outreach                 platform,              reputation,              and          other         damages            in


                an amount            to be proven               at trial.




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                                                                   AS       AND          FOR        A FOURTH                          CAUSE             OF ACTION
                                                                                        AGAINST                 ALL             DEFENDANTS
                                              (Injury              to Business                  Reputation,                    Dilution           and     Unfair         Competition
                                                        In     Violation                of New           York's             General          Business              Law       §360-I)


                               130.              Plaintiff              repeats          and      reasserts              all     allegations             contained           in    Paragraphs               1 through


                129 above                 as if they          were          stated       in full         herein.


                               131.              Defendants,                    in connection                with         the their          use of the FATIMA                         CENTER               Mark      and


                in    issuing              and        publishing                  the     August               22,        2017          letter,         the      September             1,      2017        letter     and

                                            NOTICE"
                "URGENT                                                  as     set     forth      above,             caused           a likelihood                of    injury      to     the      reputation           of


                Plaintiff          and       dilution              of     the     distinctive             quality              of the      FATIMA                 CENTER            Mark          in violation            of


                New         York          General            Business             Law      §360-I.


                                                                                                                                      Defendants'
                              132.               As     a direct                and     proximate               result           of                               conduct,         Plaintiff          has     suffered


                irreparable               harm        to     its    valuable             marks           and        its reputation                in the        community.                Unless          Defendants


                are    restrained                from         further            infringement                  of     Plaintiff's            marks,             unfair     competition               and      dilution,


                Plaintiff          will     continue               to be irreparably                     harmed.


                              133.               Plaintiff              has     no      adequate           remedy                at law          that    will      compensate               for     the     continued

                                                                                                          Defendants'
                and irreparable                   harm         that       it will       suffer      if                                    acts     are allowed            to continue.

                                                                                                                                      Defendants'
                              134.               As     a direct              and       proximate              result           of                                conduct,         Plaintiff          has     suffered


                damages            to its valuable                      marks,          fund      raising,           outreach             platform,            reputation,         and      other         damages         in


                an amount             to be proven                      at trial.


                                                                    AS        AND         FOR         A FIFTH                    CAUSE             OF ACTION
                                                                                      AGAINST                  ALL             DEFENDANTS
                                                        (Deceptive                   Business            Practices               in Violation                 of GBL         § 349)


                              135.            Plaintiff                 repeats         and      reasserts            all       allegations             contained            in    Paragraphs               1 through


                134 above             as if they              were         stated       in full      herein.




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                             136.           Defendants,              in connection                   with        the their        use of the              FATIMA               CENTER               Mark          and


                in     issuing        and        publishing            the      August               22,         2017        letter,       the         September                1,     2017         letter        and


                                      NOTICE"
                "URGENT                                        as set        forth      above,              have        engaged           in     deceptive              acts        or practices             in   the


                conduct          of a business,            trade       or commerce                    or in the             furnishing           of a service              in New            York       State      in


                violation         of GBL          § 349.


                             137.           Defendants             have       engaged               in and        continue             to engage           in acts        or practices              which         are



                misleading          in a material              way.


                             138.           Defendants             have       engaged               in and        continue             to engage           in acts        or practices              which         are


                consumer-oriented                   and      directed         to the       public            at-large          and       include          Plaintiff's           mail        recipients            and


                donors.


                             139.           The     aforesaid              deceptive               acts     and       practices           have          induced           and        caused         Plaintiff's


                mail     recipients         and     donors         to pledge            and        give      donations            to Defendants                  that     would            have     otherwise


                                                                                                                   Defendants'
                been      pledged       and         donated           to    Plaintiff          but         for                                   misleading               and        deceptive           acts      or


                practices.


                             140.           Plaintiff        has      no     adequate               remedy            at law       that        will      compensate                  for    the     continued


                                                                                                     Defendants'
                and     irreparable          harm       that     it will       suffer         if                                deceptive              acts    or practices                are allowed             to


                continue.

                                                                                                                            Defendants'
                             141.           As     a direct          and     proximate                result          of                                conduct,          Plaintiff           has      suffered


                damages          to its valuable             marks,          fund       raising,           outreach           platform,               reputation,         and        other        damages          in


                an amount           to be proven             at trial.

                                                                      Defendants'
                             142.           As    a result      of                                  violation              of GBL        § 349,          Plaintiff        is entitled             to an award


                of treble        damages          and     attorney's           fees      in an amount                      to be awarded                at trial.




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                                                            AS     AND        FOR         A SIXTH                CAUSE              OF ACTION
                                                                           AGAINST                ALL          DEFENDANTS
                                                                   (Conversion               of Plaintiff's                 Mailing           List)


                             143.        Plaintiff           repeats        and     reasserts           all      allegations            contained           in    Paragraphs                 1 through


                142    above        as if they       were        stated     in full       herein.


                            144.         At        all     relevant          times,         Plaintiff             had       a       possessory            right          or      interest           in      the


                aforementioned                Plaintiff        s Mailing          List.


                            145.         At      all relevant           times,      Plaintiff       was        the rightful             owner         of Plaintiff             s Mailing            List.


                            146.         Defendants               have      no possessory                right       or lawful          interest        in Plaintiff's                Mailing         List.


                            147.         National            Pilgrim's           permission             to     use      Plaintiff         s Mailing            List      has         been    rescinded



                by Plaintiff.


                            148.         Fatima           Center        U.S.A.        has never           had permission                     to use Plaintiff's                Mailing          List.


                            149.         Defendants               have      exercised           dominion             over        Plaintiff        s Mailing           List,       have       used        it for


               their     benefit,      and     have        interfered        with      it in derogation                  of Plaintiff             s property          rights.


                            150.         Defendants               have      refused         Plaintiff          s requests             to cease         use of         and      return        Plaintiff            s



               Mailing        List.

                                                                          Defendants'
                            151.         As       a result         of                              conversion               of      Plaintiff's         Mailing              List,      Plaintiff           has


               been      restricted       in     its ability        to conduct             fund     raising,            obtain        donations          and      perform              outreach             and


               has suffered           other      direct      financial           damages          in an amount                  to be proven            at trial.




                                                          AS AND           FOR        A SEVENTH                      CAUSE              OF ACTION
                                                                        AGAINST                 NATIONAL                    PILGRIM
                                (Conversion                of Plaintiff's             Property            from        Plaintiff's             Niagara           Falls         Facility)


                            152.         Plaintiff          repeats        and      reasserts           all    allegations              contained          in     Paragraphs                 1 through


                151 above           as if they       were        stated     in full       herein




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                              153.             At      all      relevant            times,          Plaintiff              was           the      rightful             owner                of        certain        religious


                materials,             statuary,             publications,                literature            and         equipment                    kept         at     Plaintiff's                    Niagara         Falls


                Facility.


                              154.             Defendants                 have       no     possessory                   right       or        lawful          interest           in        Plaintiff's            materials,


                property          and equipment                     kept     at Plaintiff's              Niagara            Falls         Facility.


                             155.             Defendants                   have        exercised            dominion                     over       Plaintiff's                 materials,                   property            and


                equipment,              have        used       it for       their      benefit,          and       have          interfered              with         it in derogation                       of    Plaintiff's


                property          rights.


                             156.             Defendants                   have        refused            Plaintiff's                   requests              to      return            Plaintiff's                materials,


                property          and     equipment.

                                                                                                                                           Defendants'
                             157.             As       a      direct         and       proximate                   result          of                                       conversion                      of     Plaintiff's


                materials,          property           and        equipment,               Plaintiff           has        been          deprived              of     the    use        of     materials,             property


                and    equipment,                has         been      restricted          in     its    ability           to     conduct               fund         raising,          obtain               donations            and


                perform       outreach              and       has suffered              other       damages               in an amount                    to be proven                      at trial.


                                                             AS AND               FOR         AN        EIGHTH                   CAUSE              OF ACTION
                                                                                 AGAINST                  ALL            DEFENDANTS
                                                                                                        (Defamation)


                             158.             Plaintiff         repeats          and      reasserts         all allegations                      contained                 in Paragraphs                     1 through


                157 above           as if they             were        stated       in full       herein.


                             159.             The         aforementioned                    August              22,        2017           letter,         contained                  false            and        defamatory


                statements,             implications                and     assertions            as set forth                  herein,          including,                without               limitation:            (a) that


                "SJM        was     created           to receive             and       process           mail        received              within             the    United            States";              (b)    that    SJM


               was     merely            "a    mail          processing              facility";          (c)       that         "[t]he          Board           of     Directors                 of     SJM        were          not


                involved          in     the        creation           and        implementation                      of         programs                to        achieve             The         Fatima            Center's




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                mission,      nor        in the        writing           or production                   of       The     Fatima         Center             literature,             nor     even         in    making


                decisions          about         the       daily             operations             of        SJM";          (d)      that        "[a]ll         of       [SJM's            operations                 and


                programming               were        directed           and/or]           done      by        Father        Gruner          and      The        Fatima             Center        management

                team."
                team.


                            160.           The        false       and      defamatory               statements              contained             in the August                 22,        2017      letter       had         a


                tendency      to expose               Plaintiff         to public           hatred,           contempt,             ridicule         or disgrace.


                            161.           The        false        and        defamatory                 statements                contained               in    the      August            22,     2017             letter


                referred     to Plaintiff.


                            162,           The        August         22,       2017        letter        was       published           and     distributed                by        Defendants                to third-


                parties.


                            163.           The        August            22,     2017        letter        contained              statements                referring           to     Plaintiff          that        were


                false.


                            164.          At     the     time       Defendants                 made            and       published           the     false        and      defamatory                statements



                referring      to       Plaintiff,            Defendants               knew          that          the     statements               were          false        or      acted        in        reckless


                disregard      of the truth              or falsity            of the statements.

                                                                               Defendants'
                            165.          As         a result           of                                 false          and      defamatory                   statements                contained             in      the


                August      22,     2017       letter,         Plaintiff          has been           restricted             in its      ability            to conduct               fund     raising,           obtain


               donations          and     perform             outreach           and       has suffered                  other     direct      financial               damages             in an amount                  to


               be proven          at trial.




                                                          AS AND                 FOR        AN       NINTH                CAUSE              OF ACTION
                                                                               AGAINST                   ALL         DEFENDANTS
                                                                                                    (Defamation)


                            166.          Plaintiff           repeats          and reasserts              all      allegations          contained                in Paragraphs                    1 through


                165 above          as if they         were        stated         in full     herein.




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                              167.           The        aforementioned                      September               1, 2017        letter       contained                false        and      defamatory


                 statements,           implications                 and        assertions       as set forth            herein        including,             without             limitation:           (a)        that


                 Plaintiff      was       "formed             by    Father         Nicholas         Gruner           and      [has]     been       maintained                 by      the    management


                 team,       Board        of Directors              and        staff    of The      Fatima           Center      Canada            offices         since        Father's            passing          in


                 April       2015";         and        (b)       that      "Although             your         monthly           payments             were          received             and         processed


                                                                                                                                                                                         Canada...."     ."
                 through       Servants           of Jesus           and        Mary,       all funds         were     forwarded             to the head             office           in Canada.     . .


                              168.           The        false       and        defamatory           statements               contained          in     the     September                    1, 2017             letter


                 had a tendency               to expose             Plaintiff           to public       hatred,       contempt,             ridicule         or disgrace.


                              169.           The        false       and        defamatory           statements               contained          in     the     September                    1, 2017             letter


                 referred      to Plaintiff.


                              170.           The        September                 1, 2017        letter       was      published             and       distributed               by     Fatima             Center


                 U.S.A.       and     National           Pilgrim           to third-parties.


                              171.           The       September                 1, 2017      letter      contained            statements            referring            to Plaintiff              that        were


                 false.


                              172.           At    the       time       Defendants             made        and       published          the     false        and        defamatory              statements



                 referring       to       Plaintiff,             Defendants              knew       that       the      statements             were          false       or        acted       in     reckless


                 disregard       of the truth                or falsity         of the statements.


                                                                                 Defendants'
                              173.          As         a result           of                              false       and      defamatory               statements                 contained               in      the


                 September            1, 2017          letter,      Plaintiff           has been        restricted           in its ability          to conduct               fund      raising,           obtain


                 donations          and     perform              outreach          and      has suffered             other     direct       financial          damages                in an amount                   to


                 be proven          at trial.




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                                                                    AS AND              FOR       AN TENTH                 CAUSE             OF ACTION
                                                                                      AGAINST               ALL         DEFENDANTS
                                                                                                         (Defamation)


                                    174.          Plaintiff          repeats          and     reasserts       all allegations           contained            in Paragraphs                  1 through


                     173 above             as if they           were       stated       in full     herein.

                                                                                                                          NOTICE"
                                   175.           The           aforementioned                    "URGENT                                         contained             false        and      defamatory


                     statements,              implications               and        assertions       as set forth           herein      including,            without           limitation:           (a)       that


                     Plaintiff         "can     not       collect        your        monthly         donation           because      they     cannot         fulfill      the     goals       which            your


                     gifts       are used        for";       and     (b)     that      "SJM       is trying        to change         your         donation         to another              club     that       they

                                                                                                                                                                                            Gruner."
                     have        now     created          and      is not       affiliated        with      The    Fatima         Center      or the work               of Father


                                                                                                                                                                                     NOTICE"
                                   176.           The       false      and       defamatory              statements         contained         in the        URGENT                                          had        a



                     tendency           to expose            Plaintiff          to public         hatred,        contempt,        ridicule         or disgrace.

                                                                                                                                                                                              NOTICE"
                                   177.           The        false         and        defamatory             statements           contained           in     the       URGENT


                     referred          to Plaintiff.

                                                                                         NOTICE"
                                   178.           The        "URGENT                                             was     published           and      distributed               by     Fatima             Center


                     U.S.A.        and National                 Pilgrim          to third-parties.

                                                                                       NOTICE"
                                   179.          The         "URGENT                                         contained         statements            referring           to     Plaintiff          that        were


                     false.


                                   180.          At       the     time      Defendants              made         and     published          the    false     and       defamatory                 statements


                     referring           to    Plaintiff,           Defendants                knew        that     the     statements             were       false        or     acted        in     reckless


                     disregard          of the truth             or falsity           of the statements.

                                                                                      Defendants'
                                   181.          As         a result           of                             false      and      defamatory               statements             contained               in    the


                     "URGENT                  NOTICE",                 Plaintiff         has been           restricted       in its ability          to conduct               fund     raising,           obtain




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                donations        and    perform          outreach           and     has suffered                 other         direct         financial           damages               in an amount              to


                be proven        at trial.




                            WHEREFORE,                       Plaintiff,         Servants             of    Jesus          and        Mary,          Inc.,       d/b/a        The        Fatima          Center,


                prays   that     this   Honorable             Court         enter     judgment                 against         Defendants                 The      National              Committee              for


                the National        Pilgrim         Virgin         of Canada             and     The       Fatima             Center          U.S.A.,         Inc.:


                            A.          Granting         each       of the        causes         of action          made            herein;


                            B.          Declaring            Defendants             have        infringed           the trademark                    rights        of Plaintiff;


                            C.          Preliminary             and       permanently                enjoining                Defendants,               their        representatives,                   assigns


                                        or successors,              or any          subsidiaries,                parents,           divisions,              agents,        servants,               employees


                                        thereof,        and/or        and     those       in privity             with         any    of them,             from:


                                        1.    Soliciting            donations,                 providing                services,             purchasing,                 selling,            distributing,
                                              marketing,            promoting,                 advertising,              manufacturing,                     or otherwise                 using        either     of
                                                                                                 CENTER,"                                                                     NETWORK"
                                              the        "THE             FATIMA                                                "'THE               FATIMA                                                     and
                                                                                                                                          (FNTV)"
                                              "FATIMA                  NETWORK                        TELEVISION                                                   marks,               or     any        marks

                                              confusingly             similar         thereto,            in the United                 States;         and


                                        2.    Using          any    logo,      trade name,                 or trademark                   confusingly                  similar          to either         of the
                                                                                 CENTER,"                                                            NETWORK"
                                              "THE           FATIMA                                         "'THE              FATIMA                                                   and        "FATIMA
                                                                                                           (FNTV)"
                                              NETWORK                     TELEVISION                                                marks,           which             may        be         calculated          to

                                              falsely         represent,            or     which           has      the        effect          of    falsely            representing,                 that      the
                                              products           or services             of Defendants                   are sponsored                    by,     authorized                 by,    or in any

                                              way       associated           with        Plaintiff         in the United                 States;          and

                                                                                                               CENTER,"                                                          NETWORK"
                                        3.    Infringing            on "THE              FATIMA                                        "'THE              FATIMA                                               and
                                                                                                                                    (FNTV)"
                                              "FATIMA               NETWORK                      TELEVISION                                               marks          in the          United         States;
                                              and


                                        4.    Unfairly           competing               with        Plaintiff           in    the      solicitation              of     donations,                 providing
                                              services,          offering          for sale,          distribution,                 advertisement,                    or any          other        use of       the
                                                                                  CENTER,"                                                           NETWORK"
                                              "THE           FATIMA                                         '"THE              FATIMA                                                   and        "FATIMA
                                                                                                          (FNTV)"
                                              NETWORK                  TELEVISION                                              marks          in the        United         States;           and


                                        5.    Falsely          representing                 that          Defendants,                   its      products,               or       its        services           are
                                              connected            with      Plaintiff,          or sponsored                   or associated                 with       Plaintiff,           or engaging
                                              in any         act that        is likely          to cause,           the        trade      and/or            members              of     the     purchasing



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                                       public        to believe             that     Defendants,               its products,               or        its    services,              are     associated
                                       with        Plaintiff,          including,            but         not    limited          to,    making                  false         associations               by
                                                                                                                                       CENTER,"
                                       virtue         of        the         use      of      "THE              FATIMA                                                  "'THE                   FATIMA
                                       NETWORK"                                                                                                                       (FNTV)"
                                                                      and     "FATIMA                NETWORK                     TELEVISION                                                     marks      in
                                       the United           States;          and


                                                                                                CENTER,"                                                               NETWORK"
                                 6.    Diluting            "THE           FATIMA                                         "'THE                FATIMA                                                    and
                                                                                                                        (FNTV)"
                                       "FATIMA                  NETWORK                   TELEVISION                                            marks           in the          United            States;
                                       and


                                 7.    Using,         reproducing,                  copying   or relying      on                       Plaintiff's              Mailing                 List      or    any
                                       information,              content           or data contained    therein                        or derived               therefrom;                 and


                                 8.    Deleting,            altering    or otherwise      impairing      Plaintiff's                                            Mailing                 List      or    any
                                       information,             content   or data contained     therein;   and


                           D.    Ordering           Defendant                National           Pilgrim           to       abandon              U.S.            Tm.          Application                 no.


                                 87/640,196;            and


                           E.    Ordering          Defendant                Fatima          Center         USA         to     cease           all      operations                  in     the     United


                                 States      and     formally          dissolve;          and


                           F.    Ordering          Defendants               to rescind          any       objections             Defendants                  have            made         to Plaintiff



                                 banking           and/or          depositing               contributions                  made           payable               to       "THE                  FATIMA

                                 CENTER,"                                                            NETWORK"
                                                           "'THE             FATIMA                                                     and            "FATIMA                          NETWORK

                                                            (FNTV)"
                                 TELEVISION                                        marks;       and


                           G.    Ordering          Defendants               to account             for     and     pay        over       to     Plaintiff              all    funds            raised      in


                                 the United          States       since       August         22, 2017;            and


                           H.    Ordering          Defendants               to return        Plaintiff's           Mailing             List         to Plaintiff              in a format               and


                                form      such      that    it can be utilized                  by Plaintiff;              and


                           I.   Ordering           Defendants               to return        to Plaintiff's             all      materials,                property           and         equipment


                                removed          from       Plaintiff's            Niagara         Falls       Facility;         and




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                             J.           Granting         Plaintiff       statutory            or actual         damages               in       an amount              to    be ascertained            at


                                       trial;      and


                             K.           Granting        Plaintiff       exemplary               damages          pursuant             to GBL               § 397;      and


                             L.        Granting           Plaintiff       treble     damages                 pursuant         to GBL              § 349;       and


                             M.        Granting           Plaintiff       an award              for    costs     of this      action;             and

                                                                                                             attorneys'
                           N.          Granting           Plaintiff       an award              of its                           fees        as available               under       all   applicable


                                       statutes;


                             O.        Awarding             Plaintiff      pre-judgment                     and post-judgment                       interest          as allowed          by law;


                             P.        Granting             such        other,      further             relief         that      this            Honorable              Court         deems         fair,


                                       reasonable            and equitable.




                DATED:            March      29,     2018                                                        BARCLAY                     DAMON                    LLP



                                                                                                                 By:
                                                                                                                                 Ma          -          J, Larkin,           Esq.
                                                                                                                                 Jason           S. Nardiello,               Esq.


                                                                                                                 Attorneys           for         Plaintiff
                                                                                                                 Office        and       Post        Office        Address

                                                                                                                 Barclay         Damon               Tower
                                                                                                                 125      East     Jefferson                 Street

                                                                                                                 Syracuse,            New           York        13202
                                                                                                                 Telephone:                  (315)        425-2805




                TO:                 The     National         Committee             for     the National             Pilgrim             Virgin          of Canada
                                    452     Kraft        Road,
                                    Fort     Erie,     Ontario,         Canada       L2A              4M7


                                    The     Fatima         Center       U.S.A.,          Inc.
                                    P.O.     Box      1470
                                    Buffalo,         NY      14240




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                  STATE         OF NEW YORK                                          )
                                                                                     ) SS.:
                  COUNTY              OF ST. LAWRENCE                                )




                              Ellen     Montgomery,                being          duly    sworn,       deposes         and     says that         she is the Vice          President          of


                  Servants      of Jesus       and      Mary,        Inc.,    d/b/a       The    Fatima         Center,        the   corporation            named        in the     within


                  action;     that     deponent         has read       the        foregoing        Complaint            and     knows       the contents           thereof;       that     the


                  same      is true    to her own          knowledge,               except       as to those           matters       therein       stated    to be alleged               upon


                  information          and    belief      and   that,        as to those           matters,          she     believes      them      to be true;          and     that     the


                  grounds       for     deponent's          belief      as to        such       matters        are    personal          inquiry      and     an examination                  of


                  business      records       of    Servants         of Jesus            and   Mary,        Inc.,    d/b/a     The      Fatima     Center,     conducted            in the


                  course     of deponent's             duties   as an employee                  of the corporation.




                                                                                                                                        Ellen     Montgo            ry


                  Subscribed          and sworn        to before       me
                  this   E      day of March,             201 8.




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                                                                                                                                                JuueN RMMANUELSCHWEIT2ER
                                                                                                                                            : MY COMMISSION # G0072995
                             Notary        Public                                                                                              EXPIRES Petruary 14,2021




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          N.   Y.  S.       DEPARTMENT   OF              STATE
          DIVISION          OF CORPORATIONS                                                              ALBANY,        NY      12231-0001

                                                       FILING      RECEIPT
          ====================================-=================================--======
          ENTITY       NAME        :   SERVANTS          OF   JESUS    AND   MARY,       INC.



          DOCUMENT          TYPE       :   ASSUMED        NAME    CERTIFICATE



          SERVICE       COMPANY             :             +++    NO    SERVICE        COMPANY      +++                              CODE:

          =======-======================================                                         ===============================
          FILED:       09/16/2004                                 CASH#:     129425                           FILM#:         C3 52 8 50-2

          PRINCIPAL           LOCATION



          17000       STATE     ROUTE           30

          CONSTABLE
          NY      12926




          COMMENT:



          ASSUMED      NAME
          ____________
          THE      FATIMA      CENTER

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             FILER                                                 * FEES         :    75.00                       PAYMENTS:                75.00
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          N.   Ÿ.  S.       DEPARTMENT   OF             STATE
          DIVISION          OF CORPORATIONS                                                         ALBANY,        NY      12231-0001


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          ENTITY       NAME        :   SERVANTS         OF   JESUS    AND   MARY,     INC.



          DOCUMENT          TYPE       :   ASSUMED       NAME    CERTIFICATE



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          17000      STATE     ROUTE            30

          CONSTABLE
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          THE      FATIMA     NETWORK

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          N.     . S.      DEPARTMENT   OF               STATE
          DIVISION         OF CORPORATIONS                                                                ALBANY,        NY      12231-0001

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         ENTITY      NAME         :   SERVANTS           OF   JESUS       AND   MARY,      INC.



         DOCUMENT          TYPE       :    ASSUMED        NAME      CERTIFICATE



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         CONSTABLE
         NY      12926




         COMMENT:



         ASSUMED      NAME
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         FATIMA      NETWORK              TELEVISION            (FNTV)

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            CONSTABLE                        NY    12926          *                                                 -- -----
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                                                                                               thc'
                                                 '-, To preserve Father.Gruncr   s legacy and the integrity                                                                o(The            Fatima           Center             s
                                                                                                   '                                                                                              '
                                            anssion    we find it necessary to sever our connection   with                                                             SJM,:                -. -.-,             .m.                               ,

                                           .''-                                                                                                   ":.
                                         .; ", To."do that, xw'vc cstablIsbed3hc        Fatima Center USAgnc.            lnI,western                                                                                                                              t
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                                     l VE state; ust actoss the border        ll Vill our Hea
                                                                     llW V4I from                   ca ters Ill
                                                                                                              in Fort Eric,"Otritarr'o.   e4 th         "-„,'=
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                                 . -Grun'ei
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                                    Gruner begari the prpcess 0 mov n                        ~inail                g fac lity (Cé          1
                             .."                                                                                                                        '
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                                                           All     fhture           ch   an    donatI9ns       s ould be made to The Fatima                                                                  Cyn                ~,
                                                                               ex   ~~w .~    ~ '~ -r       r~      r-     ~~       '                                                                                                                      ',,aa .'
                                           US1Incifrnth'er                    than     to the   SciTants~of      Jesus'and    MarkTax,receipts                                                               will        be                 .. -;..
                                                     ac '\                 '     .'
                                                                               p 4K%~a         cr
                                                                                        Center,USA'    I Idc.4
                           ' '=.
           ~;                                                           The FatinizCen           -USA             ince The'Fa              c USA                                                         will           fiand
                 „'",,""                                                  th                                                a
            .;                        .allall maf               from                                           notice             rent maltiñg           on future mailings
                                                                                                                                               address. .on
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            ~~~'.--~~'along                                     'thrthc      rcqucs('that            rIon'ations        now.bc"trLade   to; Tbc FitimiCcntcr      USA fnc."=:


           9                                                     oncof,;                             eet,the                                                a         a                                 Cocoa'nd
                                           Andrew                Cesaack.           both lon           tifns       friends          and cokfidantes                   of Father,              will      continue                to
                                           serve          the apostorate                 as President             and yice-President,                       respectiety;                    The Boan!of
                                                                                                                                                                                              apostoiate.:
                                       Directois                  wilfcoriti             ue to b       coesulted             on major              iss-uelaffectin¼the                           ostólate                  Mo t
                                  -                                                                                                                                                                                                           '
                                        importantly,                    The Fauma                Center's          management                    team 4tramed                 by Father                 Gruner             ovet
                                      , decades - will                       continue          to work         hard every               day to complete                     the rmssion                 Father            began


                                                  ,-'..'-. Father         Gruner                                    -
                                                                                         was t c bead and heart of.The    Fatima .Center an                                                           with      his                           .
                                                                                           '          be'          same,-
                         ~,     possing,                     the apostolate                  0l cover be quite the same, Fortunatelyfseveral
                                                                                           will                                                                                                           good,                 -,

                           -,: faithful  pnests.who                                     wish     to se       Fa             .s work         continue.bave                    stepped            forward    to serve
                                                                                                                                                                                             other'.ways.;:We"                                        -'
                                                                                                                                                                                                                    .;.;-
                              , 6å bENisrjiE{CdEcllEfP                                                   i        G aidoTto      help                   the apostolic        in                                            W
                           ;,:        will             continue         to relyon              their'counsel            guidance'and                      spiritual'directioaas.we                                  moye,'.";           ..',:.-:, .


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                           forw Ard.


                                     In short,     thanks      to Father's
                                                                       careful stewardship                and your      prayers     and
                           generosity,         the work     started glone   priest 39 years              ago remains                            as it
                                                                 by                                                       remarkably
                           was during          his tong and
                                                            loving tenure as its leader.

                                  With your continued  support, we p!cdge to stay focused on the mission        given
                           to us by Father to make the full Fatima Message understood       and followed       all.
                                                                                                           by
                           The Fatima Center has many             initiatives and important    plans for the rest of
                                                         ongoing
                           20)7 and into next year.


                                      We are confident           we can fulfill  our mission, in part because Father's  love.
                           courage       and persistence         continues  to inspire enthusiasm   and hope in us, but mostly
                           because       we know      the wort        we do is Our Lady's work and with Her on our side, we
                           cannot     fail.


                                      May      kiter Triumph      come soon.


                                                                       In Jesus, Mary          and Joseph,


                                                                                                            JT!. c~
                                    y Ceccre,                                                   Andrew    M. Cesanck,
                                         The Fatima          Center                             Vice-President.    he     Fatima     Center



                                                                   Miriam     Grunct,
                                                                   Board     Member,     The Fatima       Center


                                                                                                          z
                            michael      Long al,                                               Joanna Swords,
                            General      Manager, The Fatinu            Center                  Division Manager.       Apostolic        Outreach
                                                                                                The Fatima Center


                            P.S.      Coucctively,  we have more than 93 years of experience
                                                                                                  working   with Father
                                      Gruner to spread the Message of Fatima. We are
                                                                                         detennined    to carry on that
                                      work. Please continue to support us as you have in the past
                                                                                                     with your praycu
                                      and alms. We know the Triumph    of the lmnuculate     Heart of Mary will
                                                                                                                  come.
                                      We have Her promise.

                           P.P.S. All         of our phone numbers        remain the same and the same
                                                                                                         people are still
                                      answering  the phones.           So if you call The Fatima Center you'll
                                                                                                               notice no
                                      change at all.




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                                                                                             'T'




                                                                                                     J. M. J.


                                                                                                                                                 Friday,      September            1, 2017
                                                                                                                                Feast      of the Twelve             Holy      Brothers


                     ..       Dear      Dean    and     Sandy,
               .
                                                 we sent you a letter                        (dated       August       22, 2017) explaining                      the unfortunate
                                      Recently
                              yet necessary    severance of ties with                        Servants           of Jesus and Mar y,


                                         We are writing             you                because           you     are a valued              member          of our     pledge
                                                                         today
                              program          and we want           to address           some     concerns           or questions            you                have     about       your
                                                                                                                                                      may
                              ongoing        monthly         membership.


                                                                                                                                                                     Gruner         and         .
                                         Please      be assured           that    these    clubs      were       formed           by Father Nicholas
                              have              maintained                                                             Board        of Directors and              staff     of The
                                       been                         by the management                      team,
                              Fatima      Center       Canada       offices since Father's                     passing       in April        2015.


                                         Although           your                     payments            were        received        and processed               through
                                                                    monthly
                              Servants        of Jesus and                       all funds       were      forwarded              to the head         office      in Canada               and
                                                                    Mary,
                              applied        in accordance          with         the goals     and       purposes          of the pledge             clubs.


                                         In order       for this important                work      to continue,             your                      contributions               will
                                                                                                                                    monthly
                              now      be received          and processed             through        The Fa tima             Center   USA            Inc. at P.O.          Box 1470,

                              Buffalo,       NY 14240.

                                                                                                                         for you                       to send        your        post-
                                         With       this letter,     we have          included       a reply envelope
         >                    dated      checks.      Please       be sure        to contact       Servants  of Jesus and Mary                         at 518-483-7626                and

                              cancel     your      pledge      club membership                   and ask them              to void         and     return      your       post-dated
                                                            you'                                                      your      pledge.
                              checks      to ensure               re not doubling                up paying


                                         We at The Fatima                 Center      are determined                  to            true    to Father         GiGner's         rhission
                                                                                                                           stay
                              of making         the Message         of Fatima  fully               known,   accurately                  understood,            and    deeply
                                                                                                               cannot                 do that       without         your help.
                              appreciated          so that     it may be followed                  by all. We


                                         Thank       you     for your                        prayers           and    support         and              God       bless you
                                                                             ongoing                                                          may
                              abundantly.


                              In Jesus,      Mary      and Joseph,


                                                m.         c â€”     -<

                              Andrew         M. Cesanek




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                                                                                                                      URGENT                    NOTICE
                                                                                                                                                                                                                                r
                                                                                                                                                                                   ~,l


                                          lf you        are      a member                 of:
                                          ThiCrusaders                    of    Mary
                                          The      Society            of The         Child        Jesus                                                                                                                         1
                                          The      International                 Fatima              Rosary                 Crusade

                                          The      League            of.The          Immaculate                        Heart

                                          The      Society.          of St. John                Vianney
                                          Apostles              of the        Rosary
                                          The        rown         Scapular                Brigade



                                                                                                                  please            take        note       that:                                 .


                                          ~             We        The      Fatima               Center                are     not                                       of the         above
                                                                                                                                      changing              any                                           morithh                   giving
                                                        groups.                                                   .                                                                                                                                                      t
                                          •             If you        have       received                a notice              from        Servants                                    and                        (SJi                           ..,
                                                                                                                                                                  of Jesus                           Mary                       ) Ïhat
                                                                                                                                                                                                                                                       "
                                                        the      group         you        belong            to,        is changing,               you       need          to     contact               us immeliately
                                                                                                                                                                            '                                "'
                                                   ":: for               further           information                       at 1-800-263-8160.                                  -.: .:,"":      "'~::--" "'
                                                                any
                                                                                                                                                                                                                 they'
          .:: '.;:..:::                   ~             SJM       has     been                             informed                        us     The       Fatima                                   that        the                ar    not
                                                                                          legally                                   by                                          Center,
                                                        collect     your    monthly                        donation                 because             they          cannot           fulfill        the        goals              which
                                                        youi'
                                                        youi    gifts    are used                   for.
                                          •             SJM       is trying          to     change             your           donation             to      another              club       that                        haye              now
                                                                                                                                                                                                          they
                   ,.' ',',:     gjl!".                 created           and      is-not           affiliated               with        The      Fadma               Ceser            dr the:work                         oÈEather

                                                        Gruner                                                    .
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             â€”                      PíÒ           e remember                                                  s of Jéses                                                                                       Fr                                        .
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          '.                              the     Pope.which                  is riot       the       position                of The           Fatima          Center.            We want                   td    con . inue                     .-

                                       with
                                      ,with         the       work       of     Father            Gruner               of spreading                  the       full     Fatima            Message                     whÏ       :h will
                                  '
                                        lead
                                      -:lead       to     the     Consecration                      of      Russia            and        the     release              of the      Third              Secret.

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                                                                                                         The           Fatima            Center          USA           Inc,                                                                                    .
         4:-.:.:
                       ''-.:;: ".«"".~'-:-':."-:,;.',-';::.=.                                     P.O,       Box            1470,         Buffalo,          NY 14240
                                                                                                                                                                                                                                                                       'tt




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